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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )       CR NO. 17-00101 LEK
                              )
               Plaintiff,     )       ORDER (1) DENYING DEFENDANT’S
                              )       MOTION FOR CLERK TO ISSUE BLANK
          vs.                 )       SUBPOENAS; (2) GRANTING IN PART
                              )       AND DENYING IN PART DEFENDANT’S
ANTHONY WILLIAMS,             )       MOTION TO COMPEL; AND (3)
                              )       DENYING DEFENDANT’S MOTION FOR
               Defendant.     )       FUNDS TO HIRE A PRIVATE
                              )       INVESTIGATOR
_____________________________ )

     ORDER (1) DENYING DEFENDANT’S MOTION FOR CLERK TO ISSUE
    BLANK SUBPOENAS; (2) GRANTING IN PART AND DENYING IN PART
    DEFENDANT’S MOTION TO COMPEL; AND (3) DENYING DEFENDANT’S
         MOTION FOR FUNDS TO HIRE A PRIVATE INVESTIGATOR

           Before the Court are three motions filed by Defendant

Anthony Williams: (1) Motion For Clerk to Issue Blank Subpoenas,

filed on November 13, 2017; (2) Motion To Compel, filed on

November 29, 2017; and (3) Motion For Funds to Hire a Private

Investigator, filed on December 1, 2017.         ECF Nos. 60, 65, 68.

The United States filed a Response to Defendant’s Motion to

Compel on December 14, 2017.       ECF No. 73.    A hearing on all three

motions was held on December 15, 2017.         ECF No. 74.      After

careful consideration of the submissions of the parties, the

arguments of counsel, and the relevant legal authority, the Court

DENIES Defendant’s Motion For Clerk to Issue Blank Subpoenas,

GRANTS IN PART AND DENIES IN PART Defendant’s Motion to Compel,

and DENIES Defendant’s Motion For Funds to Hire a Private

Investigator.
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                                DISCUSSION

            I.    Motion For Clerk To Issue Defendant Blank Subpoenas

            Defendant’s Motion for the Clerk to Issue Defendant

Blank Subpoenas is DENIED.

            II.   Motion to Compel

            A.    Printer

            Defendant has been provided access to a computer on

which he may review discovery.       The Court ORDERS the Federal

Bureau of Prisons (“BOP”) to provide a printer for Defendant to

use in conjunction with this computer.         If there is a

technological reason why this cannot be done, the BOP shall file

a detailed explanation of its inability to comply no later than

December 22, 2017.

            B.    Word Processing Capabilities

            The BOP shall allow Lars R. Isaacson, Esq., stand-by

counsel for Defendant, to provide a blank CD for Defendant to use

in conjunction with the computer provided for discovery review.

Defendant may use the CD for word processing purposes and for

saving his legal work done in preparation of his defense.            The

BOP shall make such changes as are necessary to the computer

provided for discovery review to allow Defendant to save his word

processing work on the CD.      If there is a technological reason

why this cannot be done, the BOP shall file a detailed

explanation of their inability to comply no later than December

22, 2017.

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           C.   Remaining Requests

           The remaining items requested in Defendant’s Motion to

Compel are DENIED.     At the hearing on December 15, 2017, the BOP

indicated the following to the Court:        Defendant has direct

access to call his stand-by counsel, Mr. Isaacson, via the

detention center’s telephone system; Defendant has access to

legal research, including the ability to utilize LexisNexis;

Defendant may receive legal material from outside the facility;

and Defendant is allowed visitors pursuant to standard BOP

policy.   The Court finds that Defendant has not shown a

sufficient need or basis for his own private cell.              The Court

therefore DENIES all remaining requests in Defendant’s Motion to

Compel.

           III.    Motion For Funds to Hire a Private Investigator

           Finally, Defendant seeks funds to hire a private

investigator.     Under the Criminal Justice Act (“CJA”), 18 U.S.C.

§ 3006A, a person “who is financially unable to obtain

investigative ... services necessary for adequate representation

may request them in an ex parte application.”            Id., §3006A(e)(1).

If the court finds “that the services are necessary and that the

person is financially unable to obtain them, the court ... shall

authorize counsel to obtain the services.”         Id.    A pro se

defendant may also make a request for investigative services. See

United States v. Schulze, CR No. 02–00090–01 DAE, 2007 WL

1080103, *3 (D. Haw. Apr. 9, 2007) (citing United States v.

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Hamlet, 456 F.2d 1284, 1284 (5th Cir. 1972)).

             Whether to provide an investigator is a decision that

lies within the court’s discretion.        United States v. Labansat,

94 F.3d 527, 530 (9th Cir. 1996).        A court is required to

authorize investigative services only on “a timely request in

circumstances in which a reasonable attorney would engage such

services for a client having the independent financial means to

pay for them.”     United States v. Bass, 477 F.2d 723, 725 (9th

Cir. 1973); see also United States v. Fields, 722 F.2d 549, 551

(9th Cir. 1983) (to show that he is entitled to investigative

services, a defendant seeking investigative services “must

demonstrate that reasonably competent retained counsel would

require the investigative work sought for preparation of a

defense for a client with the means to pay for it”).            A defendant

must establish by clear and convincing evidence the prejudice

that would be caused by the court’s failure to appoint an

investigator.     United States v. Brewer, 783 F.2d 841, 843 (9th

Cir. 1986)

             Defendant has provided no evidence to establish that an

investigator is necessary.      Defendant merely states that “there

is evidence and documents that are imperative to obtain and only

a hired private investigator can obtain,” and “there are

witnesses vital to the defense that an investigator would be able

to locate in order to have them present for trial to give their

testimony.”    ECF No. 68.    These statement alone, with no

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additional details or facts, make it impossible for the Court to

determine the need for investigative services.          Defendant’s

Motion For Funds to Hire a Private Investigator is DENIED without

prejudice.

                                CONCLUSION

             Based on the foregoing, the Court ORDERS as follows:

             1.   Defendant’s Motion For Clerk to Issue Defendant

Blank Subpoenas is DENIED.

             2.   Defendant’s Motion to Compel is GRANTED IN

PART and DENIED IN PART as follows:

             (A) Defendant’s Request for a printer is GRANTED as

follows: the BOP shall provide a printer for Defendant to use in

conjunction with the computer provided to Defendant for discovery

review.

             (B) Defendant’s Request for word processing

capabilities is GRANTED as follows: the BOP shall allow

Defendant’s stand-by counsel to provide a blank CD for Defendant

to use in conjunction with the computer provided for discovery

review; Defendant may use the CD for word processing purposes and

for saving his legal work done in preparation of his defense; and

the BOP shall make such changes as are necessary to the computer

provided for discovery review to allow Defendant to save his word

processing work on the CD.

             (C) All remaining items requested in Defendant’s Motion

to Compel are DENIED.

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           3.    Defendant’s Motion For Funds to Hire a Private

Investigator is DENIED.

           IT IS SO ORDERED.

           DATED AT HONOLULU, HAWAII, DECEMBER 18, 2017.



                                   _____________________________
                                   Richard L. Puglisi
                                   United States Magistrate Judge




United States V. Williams, CR NO. 17-00101 LEK; ORDER DENYING
DEFENDANT’S MOTION FOR CLERK TO ISSUE DEFENDANT BLANK SUBPOENAS;
GRANTING IN PART AND DENYING IN PART DEFENDANT’S MOTION TO
COMPEL; AND DENYING DEFENDANT’S MOTION FOR FUNDS TO HIRE A
PRIVATE INVESTIGATOR




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